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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,

                      Plaintiff,                         Criminal No. 2:23-cr-270 - 1

       v.                                                Hon. William S. Stickman IV

DONTE LASHAWN COLE,

                      Defendant.



                                     HEARING MEMO

                             HEARING HELD: Change of Plea
                           DATE HEARING HELD: March 13, 2025
                             BEFORE: William S. Stickman IV

Appearing for Government:                            Appearing for Defendant:
Robert Schupansky, Esquire                           Gabrielle Lee, Esquire

Hearing began at 11:13 a.m.                          Hearing concluded at 12:11 p.m.

Stenographer: Melissa Moore

                                         OUTCOME:

Defendant did not proceed with his change of plea.

Defendant’s oral motion for exclusion of time was granted.

The appropriate order will follow.
